Case 3:21-cv-11033-RHC-EAS ECF No. 22, PageID.145 Filed 12/03/21 Page 1 of 12




                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

WORLD EMBLEM
INTERNATIONAL INC.,
                                             Case No. 3:21-cv-11033
      Plaintiff/Counter-Defendant,
                                             Honorable Robert H. Cleland
v.
                                             Magistrate Judge Elizabeth A.
THERMA SEAL, INC.,                           Stafford

      Defendant/Counter-Plaintiff.


                     STIPULATED PROTECTIVE ORDER

      This matter has come before this Court upon stipulation of the parties. The

parties believe that good cause exists for the entry of this Protective Order.

      ACCORDINGLY, IT IS HEREBY ORDERED that the following shall

control the handling of confidential information in this action:

      1.     Any party or non-party may designate information or documents and

things produced, used, or disclosed in this action as “CONFIDENTIAL” and thereby

render them subject to the protections and requirements of this Order. Only

information or documents and things that a party in good faith believes contain or

refer to information that is not generally available to or accessible by the general

public may be designated as “CONFIDENTIAL.”
Case 3:21-cv-11033-RHC-EAS ECF No. 22, PageID.146 Filed 12/03/21 Page 2 of 12




      2.     In   the   case   of   a   document     or   thing,   a   designation   of

“CONFIDENTIAL” shall be accomplished by conspicuously marking the document

or thing with the word “CONFIDENTIAL”.

      3.     Testimony in a discovery deposition can be made subject to this Order

by designating it as “CONFIDENTIAL” orally on the record at the time of the

testimony or in writing after receipt by the parties of the transcript. When

information that could support a designation of “CONFIDENTIAL” is

communicated in a discovery deposition, any party shall be permitted to exclude

from attendance at the discovery deposition any person not a party who is not entitled

to receive such information. Counsel for the parties may agree on the record that the

entire deposition transcript, and the information contained therein, is to be treated as

“CONFIDENTIAL” for a period of thirty (30) days after the attorney receives a copy

of the discovery deposition transcript during which time the parties may designate,

in writing, portions of the transcript, and/or any previously undesignated exhibits or

attachments to the transcript, as “CONFIDENTIAL.” There shall be no restrictions

on confidentiality of information not designated within the prescribed time period.

      4.     Subject to Paragraphs 2-3, no receiving party shall be under any

obligation of confidentiality until a designation is made. The failure to designate

information as “CONFIDENTIAL” or the failure to object to such a designation

shall not preclude a party from later designating, or objecting to designation of, such


                                           2
Case 3:21-cv-11033-RHC-EAS ECF No. 22, PageID.147 Filed 12/03/21 Page 3 of 12




information as “CONFIDENTIAL.” Such a failure to designate information as

“CONFIDENTIAL” shall be remedied by providing written notice to the receiving

party. Any disclosures made before such late designation shall not be considered a

violation of this Order. However, reasonable efforts shall be made by the receiving

party after the late designation to recover any documents or things containing the

information. Moreover, after late designation, the parties shall treat the subject

matter as if timely designated.

      In addition, no receiving party shall be obligated to object to any designation

of confidentiality within any specific time period. No party shall, by failure to

object, be deemed to have acquiesced or agreed to such designation or be barred

from later objecting to such designation. If any party elects to challenge the

designation of confidentiality, that party shall notify the producing party of its

challenge in writing. The producing party may either voluntarily remove the

confidential designation or inform the challenging party that it will not do so, and

then the challenging party may move the Court to remove the protection established

by this Order for the challenged materials. All such documents and information shall

retain their confidential status until full and final resolution of the matter by the

parties or by the Court.

      5.     Other than by the producing party, any information or document

designated as CONFIDENTIAL” shall be used solely in connection with this action


                                         3
Case 3:21-cv-11033-RHC-EAS ECF No. 22, PageID.148 Filed 12/03/21 Page 4 of 12




(except as set forth in ¶7) and shall not be disclosed to anyone other than:

             a.    the Court and the court personnel in this action, including court

                   reporters, while in the performance of their official duties;

             b.    the parties to this action and their insurers and reinsurers,

                   including any person or entity who becomes a party subsequent

                   to the execution of this Order, provided that, (1) such disclosure

                   is needed to assist in the prosecution or defense of this action;

                   and (2) such information is maintained in separate and

                   identifiable files, access to which is restricted to the foregoing

                   persons;

             c.    Court Reporters required to transcribe designated testimony, or

                   employees of an independent photocopying, microfilming, or

                   similar services utilized by such counsel of record, to whom such

                   disclosure is reasonably deemed necessary by such counsel for

                   the conduct of this litigation (collectively “Counsel”);

             d.    counsel for the parties and their employees to whom it is

                   necessary that the documents or information be shown for

                   purposes of this litigation;

             e.    testifying experts, consulting experts, accountants, investigators,

                   appraisers, and advisors of the parties to this action who are (i)


                                          4
Case 3:21-cv-11033-RHC-EAS ECF No. 22, PageID.149 Filed 12/03/21 Page 5 of 12




                 independent of and not currently an employee of a direct

                 competitor of either party in the fields to which the subject matter

                 of this action pertains; and (ii) retained for purposes of this

                 action;

            f.   a Party or non-party witness and counsel for such witness in the

                 course of his or her testimony in a deposition or trial conducted

                 in this action to the extent deemed necessary by Counsel for a

                 named Party in order to examine such witness;

            g.   the author(s), recipient(s), addressee(s), and person(s) copied

                 with respect to the particular Confidential Information, and their

                 Counsel;

            h.   any mediator agreed upon by the Parties, and such mediator’s

                 employees and staff;

            i.   any signatory to the attached as Schedule A as referenced in

                 paragraph 5.

            j.   other persons agreed to by the parties in a signed writing; and

            k.   pursuant to court order in this or any other court action

                 compelling production of said documents; and

            l.   pursuant to subpoena or court order in this or any other court

                 action compelling production of said documents.


                                        5
Case 3:21-cv-11033-RHC-EAS ECF No. 22, PageID.150 Filed 12/03/21 Page 6 of 12




      6.     Prior to the disclosure of any documents or information designated as

“CONFIDENTIAL” to any person authorized to inspect such information under ¶5,

excepting the Court and the court personnel in this action, including court reporters

while in the performance of their official duties, such person shall read this Order

and execute an “Agreement to be Bound by Order Regarding Confidentiality” in the

form of Schedule A attached to this Order. The attorneys of record for each of the

parties shall retain all of the original, executed Agreements.

      7.     No party may disclose to any person or entity who becomes a party to

this action subsequent to the execution of this Order any documents designated

“CONFIDENTIAL” other than those documents so designated by the producing

party, absent one of the following: (1) a written agreement by the parties; (2) by

court order; or (3) agreement by the added party to be bound by the terms of this

protective order.

      8.     Prior to disclosure of any documents or information designated as

“CONFIDENTIAL” pursuant to a subpoena issued by a third party, the subpoenaed

party is required to timely notify the party who produced and designated the

information/documents as “CONFIDENTIAL.” It is the obligation of the party who

produced and designated the information/documents as “CONFIDENTIAL” to

object to the subpoena if an objection is to be made. The subpoenaed party is to

advise the entity issuing the subpoena that some or all of the documents are subject


                                          6
Case 3:21-cv-11033-RHC-EAS ECF No. 22, PageID.151 Filed 12/03/21 Page 7 of 12




to a protective order and that any information/documents designated as

“CONFIDENTIAL” will not be produced without the occurrence of one of the

following: (1) the expiration of a thirty (30) day time period allowing the party who

produced and designated the information/documents as “CONFIDENTIAL” time to

object to the subpoena; (2) the issuance of an order by a court or administrative

tribunal compelling production of the subpoenaed documents.

      9.     No person entitled access to any protected documents or information

shall discuss the contents with any other individual, except those individuals who

are also permitted to view, inspect, or examine the materials protected herein.

      10.    This Order does not authorize or permit the filing of any documents

under seal. The party seeking to file any paper under seal must file and serve a

motion under FRCP 5.3 and LR 26.4. The movant may not file or otherwise tender

to the Clerk any item proposed for sealing unless the Court enters a protective order

authorizing sealing.

      11.    Unless otherwise permitted, within one (1) year after the final

disposition of this action, or any related action in which the documents that fall under

the scope of this Protective Order, including all appeals, all documents and things

designated as “CONFIDENTIAL,” all copies of documents and things designated as

“CONFIDENTIAL,” and all excerpts therefrom in the possession, custody, or

control of parties other than the producing party shall be destroyed or returned to


                                           7
Case 3:21-cv-11033-RHC-EAS ECF No. 22, PageID.152 Filed 12/03/21 Page 8 of 12




counsel for the producing party. On request, a letter certifying such return or

destruction shall be delivered by the receiving to the producing party. Counsel for

parties other than the producing party may retain one copy of each document and

thing, work product, and transcript embodying documents, things, or information

designated as “CONFIDENTIAL” under seal for archival purposes. All persons

who have been privy to protected information shall, even after conclusion of the

litigation, be under a continuing duty not to reveal such information for so long as

such information is not otherwise available to the public.

      12.    The parties may stipulate, or any party may apply to the Court for a

modification to this Order.

      13.    Notwithstanding anything in this Order to the contrary, the

confidentiality obligations of this Order shall not prohibit the use by any party of

any information, documents, or things (for which no other obligation of

confidentiality exists) that are currently in a party’s or individual’s possession,

custody, or control, that later come into the possession of a party to this action from

others lawfully in possession of such information, documents, or things who are not

parties to this action or bound by this or a comparable Order or obligation, that are

in the public domain, or that are required to be disclosed by any law, regulation,

order, or rule of any governmental authority.




                                          8
Case 3:21-cv-11033-RHC-EAS ECF No. 22, PageID.153 Filed 12/03/21 Page 9 of 12




      14.    Inadvertent production of documents subject to work product immunity

or the attorney-client privilege shall not constitute a waiver of the immunity or

privilege. However, the producing party must notify the receiving party in writing

of such inadvertent production within ten (10) days of first becoming aware of the

inadvertent production of such documents to the receiving party. Such inadvertently

produced documents, and all copies thereof, shall be returned to the producing party

upon request. No use may be made of such documents subsequent to the request to

return them. Nothing in this Order shall prevent the receiving party from requesting

that the Court order the production of any such inadvertently produced documents.

Nothing in this Order prevents either party from petitioning the Court for return of

later discovered, inadvertently produced documents that are subject to work product

immunity or attorney-client privilege following expiration of the ten (10) day period.

      15.    This Order does not purport to govern the handling of confidential

discovery material introduced at trial or in any hearing in this matter. Protection of

confidential discovery material in such proceedings is left to the further agreement

of the parties and order of the Court.

      16.    In the event additional persons become parties to this litigation, they

shall not have access to confidential information produced by or obtained from any

other party to this litigation until the newly-joined party by its counsel and existing

parties to this litigation have executed and filed with the Court this Order.


                                          9
Case 3:21-cv-11033-RHC-EAS ECF No. 22, PageID.154 Filed 12/03/21 Page 10 of 12




      17.    The provisions of this Order shall survive and remain in full force and

effect after the entry of final judgment (including any appellate proceedings) in this

case, whether by settlement or litigation unless otherwise ordered by this Court.

      18.    The production of documents subject to this protective order does not

constitute an admission or agreement that any document or information is admissible

as evidence in this case.

      19.    The parties agree to abide by and be bound by the terms of this

Stipulation upon signature by their attorneys.



SO ORDERED.


Date: December 3, 2021                              s/Robert H. Cleland
                                                    Hon. Robert H. Cleland
                                                    United States District Judge




                                         10
Case 3:21-cv-11033-RHC-EAS ECF No. 22, PageID.155 Filed 12/03/21 Page 11 of 12




Stipulated and agreed to by:


 H. Joel Newman, PLLC                  DYKEMA GOSSETT PLLC

 /s/ H. Joel Newman                    /s/ Nasseem S. Ramin
 H. Joel Newman (P38459)               Thomas M. Schehr (P54391)
 Attorneys for World Emblem            Nasseem S. Ramin (P73513)
 370 E. Maple                          Attorneys for Thermaseal
 Birmingham, MI 48009                  400 Renaissance Center
 (248) 723-1238                        Detroit, MI 48243
 hjn@hjoelnewman.com                   (313) 568-5326
                                       tschehr@dykema.com
                                       nramin@dykema.com




                                     11
Case 3:21-cv-11033-RHC-EAS ECF No. 22, PageID.156 Filed 12/03/21 Page 12 of 12




                                 SCHEDULE A

         AGREEMENT TO BE BOUND BY ORDER REGARDING
                     CONFIDENTIALITY

      The undersigned hereby acknowledges that he/she has read the Protective

Order issued by the United States District Court-Eastern District of Michigan,

Southern Division, Civil Action No: 2:20-cv-12598-SFC-APP (H&N Realty, Inc. v.

The Travelers Indemnity Company of America, et. al.) on ____________, 20___,

and that he/she understands the terms of the Order and agrees to be bound by it.


Date:____________________             ____________________________________
                                      Signature

                                      ____________________________________
                                      Title

                                      ____________________________________
                                      Printed Name




                                        12
